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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

                                   )
ANA M. DOSOUTO,                    )
                  Plaintiff,       )
                                   )        CIVIL ACTION
            v.                     )        NO. 19-11995-WGY
                                   )
DIANE VON FURSTENBERG, Store,      )
               Defendant.          )
                                   )


YOUNG, D.J.                                       November 9, 2021

                                 ORDER

     On September 7, 2021, the Court ordered the plaintiff,

within 21 days, to (1) show cause why this case should not be

dismissed under Rule 41(b) based on plaintiff’s failure to

prosecute the case and (2) either pay the filing fee or file a

renewed application to proceed without prepayment of fees.

Docket No. 4.     The order stated that plaintiff’s failure to

timely comply with these directives will result in the dismissal

of this action without prejudice.

     On October 5, 2021, plaintiff paid the $402.00 filing fee,

see Docket No. 5.    The filing fee payment was not timely and,

more importantly, plaintiff did not address her failure to

prosecute this case.    See Docket.    The show-cause deadline has

passed, and the plaintiff has not offered any reason why she has

not complied with the Court’s order, nor sought additional time

to do so.
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     Accordingly, plaintiff shall show cause, in writing, why

this case should not be dismissed under Rule 41(b) based on

plaintiff’s failure to prosecute.       Failure to timely comply with

this directive within 21 days of the date of this Order will

result in the dismissal of this action without prejudice.


SO ORDERED.

                                   /s/ William G. Young
                                   WILLIAM G. YOUNG
                                   UNITED STATES DISTRICT JUDGE




                                  [2]
